Case 1-25-42015-€SS DOC Zo Filed 11/Uo/Zo Entered LisQo/co 15° LOTLy

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

BROOKLYN DIVISION
In Re. § Case No. 23-42813
COJAM CONSTRUCTION INC §
§
Debtor(s) §
[-] Jointly Administered
Monthly Operating Report Chapter 11
Reporting Period Ended: 08/31/2023 Petition Date: 08/08/2023
Months Pending: 1 Industry Classification:| 5 | 3 | 1] 1 |
Reporting Method: Accrual Basis ( Cash Basis @
Debtor's Full-Time Employees (current): 0
Debtor's Full-Time Employees (as of date of order for relief): 0

Supporting Documentation (check all that are attached):

(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

Statement of cash receipts and disbursements

Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
Statement of operations (profit or loss statement)

Accounts receivable aging

Postpetition liabilities aging

Statement of capital assets

Schedule of payments to professionals

Schedule of payments to insiders

All bank statements and bank reconciliations for the reporting period

Description of the assets sold or transferred and the terms of the sale or transfer

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s/James Cortazar James Cortazar
Signature of Responsible Party Printed Name of Responsible Party

11/06/2023
Date

29-08 12th Street Astoria NY
Address

STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021) |
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Debtor's Name Case No. 23-42813
COJAM CONSTRUCTION INC

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a. Cash balance beginning of month $0
b. Total receipts (net of transfers between accounts) $0 $0
c. Total disbursements (net of transfers between accounts) $0 $0
d. Cash balance end of month (atb-c) $0
e. Disbursements made by third party for the benefit of the estate $9 $0
f. Total disbursements for quarterly fee calculation (cte) $0 $0
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Accounts receivable (total net of allowance) $0
b. Accounts receivable over 90 days outstanding (net of allowance) $0
c. Inventory (Book(~ Market (~ Other (@ (attach explanation)) $0
d ‘Total current assets $0
e. Total assets $3,000,000
f. Postpetition payables (excluding taxes) $0
g. Postpetition payables past due (excluding taxes) $0
h. Postpetition taxes payable $0
i. Postpetition taxes past due $0
j. Total postpetition debt (f+h) $0
k. Prepetition secured debt $137,500
|. Prepetition priority debt $0
m. Prepetition unsecured debt $0
n. Total liabilities (debt) +k+l+m) $137,500
o. Ending equity/net worth (e-n) $2,862,500
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a. Total cash sales price for assets sold/transferred outside the ordinary

course of business $0 $0
b. Total payments to third parties incident to assets being sold/transferred
outside the ordinary course of business $0 $0
c. Netcash proceeds from assets sold/transferred outside the ordinary
course of business (a-b) $0 $0
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a. Gross income/sales (net of returns and allowances) $0
b. Cost of goods sold (inclusive of depreciation, if applicable) $0
c. Gross profit (a-b) $0
d. Selling expenses $0
e. General and administrative expenses $0
f. Other expenses $0
g. Depreciation and/or amortization (not included in 4b) $0
h. Interest $0
i. Taxes (local, state, and federal) $0
j. Reorganization items $0
k. Profit (loss) $0 $0

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Debtor's Name

COJAM CONSTRUCTION INC

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Current Month

Approved
Cumulative

Case No. 23-42813

Paid Current Paid
Month Cumulative

a. Debtor's professional fees & expenses (bankruptcy) Aggregate Total

Ttemized Breakdown by Firm

Firm Name

Role

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Debtor's Name Case No. 23-42813
COJAM CONSTRUCTION INC

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Debtor's Name

COJAM CONSTRUCTION INC

Case No. 23-42813

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Current Month

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b. Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

ltemized Breakdown by Firm

Firm Name

Role

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Debtor's Name Case No. 23-42813
COJAM CONSTRUCTION INC

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Debtor's Name Case No. 23-42813
COJAM CONSTRUCTION INC

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Debtor's Name Case No. 23-42813
COJAM CONSTRUCTION INC
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c. All professional fees and expenses (debtor & committees)

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a. Postpetition income taxes accrued (local, state, and federal) $0 $0
b. Postpetition income taxes paid (local, state, and federal) $0 $0
c. Postpetition employer payroll taxes accrued $0 $0
d. Postpetition employer payroll taxes paid $0 $0
e. Postpetition property taxes paid $0 $0
f. Postpetition other taxes accrued (local, state, and federal) $0 $0
g. Postpetition other taxes paid (local, state, and federal) $0 $0
a. Were any payments made on prepetition debt? (if yes, see Instructions) Yes No@
b. Were any payments made outside the ordinary course of business YesC No@
without court approval? (if yes, see Instructions)
c. Were any payments made to or on behalf of insiders? YesC No@
d. Are you current on postpetition tax return filings? Yes@ Nol
Are you current on postpetition estimated tax payments? Yes@ NoC
f. Were all trust fund taxes remitted on a current basis? Yes@ No
g. Was there any postpetition borrowing, other than trade credit? YesC No@
(if yes, see Instructions)
h. Were all payments made to or on behalf of professionals approved by YsC Nol NAG
the court?
i. Do you have: Worker's compensation insurance? Yes No
If yes, are your premiums current? YesC No N/A @ (ifno, see Instructions)
Casualty/property insurance? Yes@ No
If yes, are your premiums current? Yes Not N/A C. (ifno, see Instructions)
General liability insurance? Yes@ No€
If yes, are your premiums current? Yes (@ No N/A C (ifno, see Instructions)
j. Has a plan of reorganization been filed with the court? Yes( No
k. Has a disclosure statement been filed with the court? Yes No@
1. Are you current with quarterly U.S. Trustee fees as Yes(@  NoC

set forth under 28 U.S.C. § 1930?

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Debtor's Name Case No. 23-42813
COJAM CONSTRUCTION INC

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a. Gross income (receipts) from salary and wages $0
b. Gross income (receipts) from self-employment $0
c. Gross income from all other sources $0
d. Total income in the reporting period (atb+c) $0

Payroll deductions $0
f. Self-employment related expenses $0
g. Living expenses $0
h. All other expenses $0
i. Total expenses in the reporting period (e+f+gth) $0
j. Difference between total income and total expenses (d-i) $0
k. List the total amount of all postpetition debts that are past due $0
|. Are you required to pay any Domestic Support Obligations as defined by 11 Yes No@

U.S.C § 101(L4A)?
m. Ifyes, have you made all Domestic Support Obligation payments? Yes NoC NAC

Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www .justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).

I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.

s/James Cortazar James Cortazar

Signature of Responsible Party Printed Name of Responsible Party
President 11/06/2023

Title Date

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Re: Cojam Construction Inc.
Case No.: 23-42813-ess

STATEMENT OF INCOME AND EXPENSES FOR PERIOD
FROM August 8, 2023 to August 31, 2023

Opening Balance 0

Income
Rental Income 0
Total

Total Funds Available 0

Expenses
Mortgage 0
Utilities
Repairs/Maintenance 0
Other/Misc

Total Expenses 0
Tax Deposits

IRS

NYS
Administration (UST Fees)

Closing Balance End of Period 0
